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             IN THE UNITED STATES DISTRICT COURT FOR THE

                      WESTERN DISTRICT OF OKLAHOMA




UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )
              -vs-                            )       No. CR-09-151-L
                                              )
DANIEL KNIGHT HAYDEN                          )
                                              )
                     Defendant.               )


GOVERNMENT'S RESPONSE TO DEFENDANT'S MOTION TO REVIEW AND
                 MODIFY DETENTION ORDER


       The United States hereby responds to defendant's "Motion to Review and Modify

Detention Order" (Doc. 43), filed by defendant on June 29, 2009. The defendant moves

the Court pursuant to Title 18, United States Code, Section 3145(b) to review the order of

detention entered by United States Magistrate Judge Bana Roberts on June 11, 2009. In

support of his motion, defendant states that he has mental issues that are exacerbated by

his present state of detention and submits that other facilities would be more appropriate

to address his problems. The government submits that the defendant was afforded a full

and fair hearing. The defendant was able to cross examine the government witness and

proffered his own testimony about pretrial release conditions. The government requests

this Court adopt the findings of the Magistrate Judge, as allowed by law, and enter an

order continuing the defendant’s detention.
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                             FACTUAL BACKGROUND

       On April 15, 2009, United States Magistrate Judge Bana Roberts signed a criminal

complaint charging Daniel Knight Hayden (defendant) with transmitting a threatening

communication in interstate commerce on April 11, 2009, in violation of Title 18, United

States Code, Section 875(c).1 The defendant appeared before Magistrate Judge Roberts for

an Initial Appearance on April 16, 2009. The court entered an order releasing the defendant

to the Carver Center with bond conditions. On May 6, 2009, a federal grand jury returned a

one-count Indictment charging the defendant with transmitting a threatening communication

in interstate commerce on April 11, 2009, in violation of Title 18, United States Code,

Section 875(c).

       The defendant was arraigned on the Indictment, before United States Magistrate Judge

Gary Purcell, on May 8, 2009. During the arraignment, the defendant, through counsel, made

an oral motion for reconsideration of his pretrial release or detention. In support of this

motion, the defendant argued that he didn’t believe his being placed in the Carver Center

equated with the definition of the word “release” and that his twenty-four hour lockdown

condition prevented him from having access to a law library. United States Magistrate Judge

Purcell denied the defendant’s motion for reconsideration on the grounds that the defendant




              1
              A more detailed factual background is set forth in the government's Response
to the Defendant's Motion to Dismiss Indictment (Doc. 49).

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did not present any new evidence or change in conditions which warranted a change in his

present pretrial conditions.

       On June 11, 2009, United States Probation Officer Ann Alesch filed a Petition for

Action on Conditions of Pretrial Release and Order (Doc. 26). The petition alleged that the

defendant violated his pretrial conditions by failing to follow the rules of the Carver Center.

More specifically, it was alleged that he failed to follow the rules of the Carver Center by

communicating threats towards employees of the Carver Center. A hearing on the petition

was held before United States Magistrate Judge Bana Roberts on June 11, 2009. The

government put on testimony through United States Probation Officer (USPO) Ann Alesch

and then rested. The defendant cross examined the government’s witness, proffered evidence

of his own, and then rested. The hearing lasted approximately 51 minutes. After hearing

argument from both parties, Judge Roberts entered an order finding that the defendant

violated his conditions of pre-trial release. Further, the Court held that given the nature of the

violation, and its similarity to the defendant’s pending charge, that the defendant’s pre-trial

release should be revoked. This case is presently set for trial on July 13, 2009.

                           ARGUMENT AND AUTHORITIES

       A district court's reviews a magistrate judge's detention or release order de novo.”

United States v. Cisneros, 328 F.3d 610, 616 (10th Cir. 2003). “De novo review does not

require a de novo evidentiary hearing.” United States v. Wittenmyer, No.

00-40024-14-SAC, 2001 WL 968406 at *2 (D. Kan. July 6, 2001). “On review of release



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and detention orders, district court may take additional evidence and may also utilize

transcript and record of earlier detention hearing as basis for findings of fact.” United

States v. Allen, 605 F. Supp. 864, 867 (W.D.Pa. 1985) (disagreed with on other grounds);

see also Wittenmyer, 2001 WL 968406 at * 3 (“The district court may incorporate the

record of the proceedings conducted by the magistrate judge including the exhibits

admitted there.”). “The decision of whether to allow a defendant to present or proffer

additional evidence in a pretrial detention hearing rests within the district court’s discre-

tion.” United States v. Levine, 770 F. Supp. 460, 464 n. 7 (N.D. Ind. 1991).; see also

United States v. Gaviria, 828 F.2d 667, 669 (11th Cir. 1987) (stating that district court has

discretion to allow government and defense to proceed by way of proffer at detention

hearing). Furthermore, the district court may adopt the magistrate judge’s pretrial

detention order as long as there is a careful review of the pleadings and the evidence

developed at the detention hearing. United States v. King, 849 F.2d 485, 490 (11th Cir.

1988). Adoption of the order obviates the need for the district court to prepare its own

written findings of fact and statement of reasons supporting pretrial detention. Id.

       The defendant has not set forth any evidence in his motion which has a bearing on

whether he should be detained or released pending trial. The defendant generally states

that his current place of detention exacerbates his mental issues. The government

anticipates testimony at a hearing will show that when the defendant was released to the

Carver Center, one of his conditions was to undergo a mental/psychiatric evaluation. The



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defendant refused to do so. During the defendant’s residence at the Carver Center, on the

most restrictive conditions short of detention that could be imposed, he threatened to kill

employees of the Carver Center. Based on these actions, the Carver Center elected to

terminate the defendant from the program. The defendant was afforded a full and fair

hearing on the Petition for Action on Conditions of Pretrial Release. The government put

on evidence through USPO Ann Alesch and the defendant had the opportunity to cross-

examine Ms. Alesch. Furthermore, the defendant proffered evidence about the alleged

violation and the potential for alternative living arrangements, short of custodial deten-

tion, pending trial. Both sides presented arguments and the entire hearing lasted approxi-

mately 51 minutes. (See Attachment 1) 2 .

       The defendant’s inability to reside at the Carver Center, coupled with his threats to

employees of the Carver Center, which are similar in nature to the offense alleged in the

Indictment, clearly and convincingly show that he is a danger to the community. There-

fore, the government requests the Court enter an order of detention for the defendant

pending trial.




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              Attachment 1 is a copy of the hearing that was held on the Petition for Action
on Conditions of Pretrial Release on June 11, 2009. (Conventional Filing Notice).


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                                      CONCLUSION

       Based on the foregoing reasons, the government respectfully requests the Court

deny defendant’s Motion to Review and Modify Detention Order.




                                                      Respectfully submitted,

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                                                      United States Attorney

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                             CERTIFICATE OF SERVICE


       I hereby certify that on July 2, 2009, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing and transmittal of a
Notice of Electronic Filing to the following ECF registrant: Joseph L. Wells.




                                                      s/Andre' B. Caldwell
                                                      Assistant U.S. Attorney

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